Case 1:20-cv-01544-CFC-SRF Document 27 Filed 04/11/12 Page 1 of 3 PageID #: 241




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                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION


 C.R. BARD, INC.,
                                                     DEFENDANT ANGIODYNAMICS, INC.’s
                                Plaintiff,           DISCLOSURE STATEMENT PURSUANT
                 vs.                                 TO RULE 7.1 OF THE FEDERAL RULES
                                                           OF CIVIL PROCEDURE
 ANGIODYNAMICS, INC.,
                                                             Case No. 2:12-CV-00035-DAK
                                Defendant
                                                                 Judge Dale A Kimball


 AND RELATED COUNTERCLAIMS.


          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, defendant AngioDynamics,

 Inc., a publicly traded, non-governmental party, certifies that there is no parent or publicly held

 corporation that owns 10% or more of its stock.



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Case 1:20-cv-01544-CFC-SRF Document 27 Filed 04/11/12 Page 2 of 3 PageID #: 242




 Dated: April, 11, 2012                    Respectfully submitted,

                                           RAY QUINNEY & NEBEKER P.C.

                                             /s/ Mark M. Bettilyon
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                                     -2-
Case 1:20-cv-01544-CFC-SRF Document 27 Filed 04/11/12 Page 3 of 3 PageID #: 243




                                     CERTIFICATE OF SERVICE

        I hereby certify that on the 11th day of April, 2012, I electronically filed the foregoing

 DEFENDANT ANGIODYNAMICS, INC.’S DISCLOSURE STATEMENT PURSUANT

 TO RULE 7.1 OF THE FEDERAL RULES OF CIVIL PROCEDURE with the Clerk of the

 Court using the CM/ECF system, which sent notification of such filing to the following:

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                                               /s/ Lori M. McGee




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